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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                D3M Licencing Group LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3111 Fortune Way
                                  B8
                                  Wellington, FL 33414
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    D3M Licencing Group LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




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Debtor   D3M Licencing Group LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.

                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    D3M Licencing Group LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 16, 2019
                                                  MM / DD / YYYY


                             X   /s/ David Gold                                                           David Gold
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-Managing Member




18. Signature of attorney    X   /s/ Mark S. Roher                                                         Date January 16, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark S. Roher
                                 Printed name

                                 Law Office of Mark S. Roher, P.A.
                                 Firm name

                                 150 S. Pine Island Road
                                 Suite 300
                                 Plantation, FL 33324
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (954) 353-220                 Email address      mroher@markroherlaw.com

                                 178098 FL
                                 Bar number and State




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